Case 2:14-cv-03620-JMV-JBC Document 213-15 Filed 06/30/16 Page 1 of 31 PageID: 4276




                         Exhibit 15
Case 2:14-cv-03620-JMV-JBC Document 213-15 Filed 06/30/16 Page 2 of 31 PageID: 4277


                                                                            Page 1

              IN THE UNITED STATES DISTRICT COURT
              FOR THE DISTRICT OF NEW JERSEY
              - - - - - - - - - - - - - - - - - - - - x
              ROBIN JOACHIM DARTELL,
                        Plaintiff,
                                         Civil Action
                  -against-              Docket No.
                                         14-CV-3620

              TIBET PHARMACEUTICALS, INC. ET AL

                             Defendants.

              - - - - - - - - - - - - - - - - - - - - x


                           Deposition of HAYDEN ZOU, taken
                      pursuant to notice, was held at the law
                      offices of SHER TREMONTE, LLP, 80 Broad
                      Street, New York, New York, commencing
                      April 19, 2016, 9:30  a.m., on the above
                      date, before Leslie Fagin, a Court
                      Reporter and Notary Public in the State
                      of New York.

                                             - - -




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Case 2:14-cv-03620-JMV-JBC Document 213-15 Filed 06/30/16 Page 3 of 31 PageID: 4278


                                                                           Page 18
         1                             H. Zou
         2            Q.     Just a general idea of your best
         3    recollection of how you came to learn of
         4    Tibet?
         5            A.     Maybe it's from a party or
         6    something like that.
         7            Q.     So you possibly met Hong Yu through
         8    a party and how did you become involved in
         9    Tibet?
        10            A.     Because the company wanted to get
        11    listed in the United States and in order for
        12    them to get listed to sell shares in United
        13    States, they need someone like me which is
        14    nonChina citizen, I am not a Chinese citizen,
        15    I am a U.S. citizen, to do the corporate
        16    structure for them, to incorporate company
        17    for them.
        18            Q.     So someone, or Hong Yu possibly,
        19    approached you to help them get listed in the
        20    United States?
        21                   MR. GUNNELL:          Objection.
        22            A.     Asked me to do the outside China
        23    corporate structure, to do the incorporation
        24    for them.
        25            Q.     And how would you, what would make




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Case 2:14-cv-03620-JMV-JBC Document 213-15 Filed 06/30/16 Page 4 of 31 PageID: 4279


                                                                           Page 19
         1                             H. Zou
         2    you qualify to incorporate a company?
         3            A.     It doesn't need a qualification to
         4    do incorporation.
         5            Q.     How do you go about incorporating a
         6    company?
         7            A.     Just go and you incorporate, it's
         8    just like if you want to register a
         9    corporation, you just register.
        10            Q.     You just register with who?
        11            A.     With an agent.
        12            Q.     And how did you learn about doing
        13    that, what prior experience do you have or
        14    did you have that educated you about how to
        15    incorporate a company?
        16            A.     I just learned myself.
        17            Q.     How did you learn it yourself?
        18            A.     You just learn.
        19            Q.     Did you read books?
        20            A.     I don't know.           I may did my own
        21    research.
        22            Q.     Had you previously incorporated any
        23    other companies?
        24            A.     Yes, I did.
        25            Q.     What companies?




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Case 2:14-cv-03620-JMV-JBC Document 213-15 Filed 06/30/16 Page 5 of 31 PageID: 4280


                                                                           Page 23
         1                             H. Zou
         2    about Tibet?
         3            A.     No.
         4            Q.     When you became interested in
         5    investing in Tibet, what follow-up research
         6    did you do, did you visit Tibet's factories.
         7            A.     Yes, I visit Tibet factory.
         8            Q.     Approximately what year was that?
         9            A.     2009 maybe, 2010.
        10            Q.     What did you see at Tibet's
        11    factories; what did it look like?
        12            A.     Good and modern factory.
        13            Q.     What other companies were you, if
        14    any, were you an early investor in?
        15            A.     Could you --
        16            Q.     What other companies -- you
        17    invested, you put your own money in Tibet,
        18    are there any other companies that you put
        19    your money in early on?
        20            A.     Yes.
        21            Q.     What companies, if you recall?
        22            A.     There is another company I invested
        23    in that's called China Customer Relation
        24    Centers.
        25            Q.     Is that a U.S. publicly traded




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Case 2:14-cv-03620-JMV-JBC Document 213-15 Filed 06/30/16 Page 6 of 31 PageID: 4281


                                                                           Page 24
         1                             H. Zou
         2    company?
         3            A.      Yes.
         4            Q.      Is that company still around?
         5            A.      Yeah.
         6            Q.      How is it doing?
         7            A.      Okay.
         8            Q.      I'm going to show you?
         9                    (Zou Exhibit 1, Complaint, marked
        10            for identification.)
        11            Q.      So are you familiar with this
        12    document?
        13            A.      Yes.
        14            Q.      I'm looking at paragraph 26 which
        15    is on page 7.           It lists, Defendant Taylor
        16    Guo, has served as Tibet's chief executive
        17    officer and director since 2010.
        18                    What was your relationship with
        19    Taylor Guo?
        20            A.      I met him and I deal with him when
        21    the company was in the process of
        22    registration.
        23            Q.      How many times did you meet him,
        24    approximately?
        25            A.      Less than five times.




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Case 2:14-cv-03620-JMV-JBC Document 213-15 Filed 06/30/16 Page 7 of 31 PageID: 4282


                                                                           Page 25
         1                             H. Zou
         2            Q.     Did you speak with him frequently?
         3            A.     Infrequently.           If he needs me
         4    something.
         5            Q.     When was the last time you spoke
         6    with him?
         7            A.     2011, 2012.
         8            Q.     Does he live in China?
         9            A.     I believe so.
        10            Q.     Do you know if he has any
        11    residences in the United States?
        12            A.     I don't know.
        13            Q.     Does he know what happened to the
        14    money from the IPO?
        15                   MR. GUNNELL:          Objection.
        16            A.     I really don't know about what he
        17    knows.
        18            Q.     Do you think he knows what might
        19    have happened to the IPO proceeds?
        20                   MR. GUNNELL:          Objection.         Calls for
        21            speculation.
        22            A.     I don't know.
        23            Q.     I'm looking at paragraph 27.                   It
        24    lists, Defendant Hong Yu, Hong Yu has been
        25    Tibet's chairman of the board of directors




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Case 2:14-cv-03620-JMV-JBC Document 213-15 Filed 06/30/16 Page 8 of 31 PageID: 4283


                                                                           Page 26
         1                             H. Zou
         2    since April 2010.
         3                   What was your relationship with
         4    Hong Yu?
         5                   MR. GUNNELL:          Objection.
         6            A.     No relationship.
         7            Q.     But you stated before that you met
         8    him?
         9            A.     Yeah, I met him.
        10            Q.     Do you know if he knows what
        11    happened to the IPO proceeds?
        12                   MR. GUNNELL:          Objection.
        13            A.     Supposedly.
        14            Q.     He supposedly knows.
        15            A.     He is the chairman, right.
        16            Q.     Is that your basis for thinking
        17    that he knows?
        18            A.     I don't put assumptions, so I
        19    couldn't tell.
        20            Q.     Do you know why he resigned?
        21            A.     I didn't know he resigned.                  Did he?
        22            Q.     Yes.      But you didn't know?
        23            A.     I didn't know.
        24            Q.     And paragraph 28 lists, Sabrina Ren
        25    who says she served as Tibet's chief




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Case 2:14-cv-03620-JMV-JBC Document 213-15 Filed 06/30/16 Page 9 of 31 PageID: 4284


                                                                           Page 27
         1                             H. Zou
         2    financial officer since 2010.
         3                   What, if any, was your relationship
         4    with Sabrina Ren?
         5            A.     No relationship.
         6            Q.     Did you ever meet her?
         7            A.     No.
         8            Q.     Did you ever speak with her?
         9            A.     No.
        10            Q.     Did you ever email with her?
        11            A.     I don't recall.
        12            Q.     Paragraph 29 lists, Wenbo Chen, who
        13    served as Tibet director since April 2010.
        14                   Did you have any relationship with
        15    Wenbo Chen?
        16            A.     No relationship.
        17            Q.     Did you ever meet him?
        18            A.     No.
        19            Q.     Did you ever speak with him?
        20            A.     No.
        21            Q.     Did you ever correspond with him
        22    via email?
        23            A.     No, I don't believe so.
        24            Q.     And paragraph 30, Defendant Youhang
        25    Peng served as a Tibet director since April




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Case 2:14-cv-03620-JMV-JBC Document 213-15 Filed 06/30/16 Page 10 of 31 PageID: 4285


                                                                           Page 29
         1                             H. Zou
         2    with Tibet, did you speak with him?
         3            A.      No.
         4            Q.      You didn't correspond with him via
         5    email?
         6            A.      No.
         7            Q.      Were you aware that he was on the
         8    board of Tibet?
         9            A.      Yeah, I found out.
        10            Q.      Paragraph 31, Solomon Chen, he
        11    served as a Tibet director since April 2010.
        12                    Do you have any relationship with
        13    Solomon Chen?
        14            A.      No.
        15            Q.      Ever meet him?
        16            A.      No.
        17            Q.      Did you ever speak with him?
        18            A.      No.
        19            Q.      Did you ever correspond with him
        20    via email?
        21            A.      No.
        22            Q.      So if you can mark this exhibit Zou
        23    Exhibit 2?
        24                    (Zou Exhibit 2, Responses and
        25            objections to plaintiffs' first set of




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Case 2:14-cv-03620-JMV-JBC Document 213-15 Filed 06/30/16 Page 11 of 31 PageID: 4286


                                                                           Page 30
         1                             H. Zou
         2            interrogatories, marked for
         3            identification.)
         4            Q.      Are you familiar with this
         5    document?
         6            A.      Yeah.
         7            Q.      And these are your responses and
         8    objections to plaintiffs first set of
         9    interrogatories to defendant Hayden Zou.
        10                    Did you help prepare this document?
        11            A.      I provided the information.
        12            Q.      What was your role in the offering,
        13    the Tibet offering?
        14                    MR. GUNNELL:         Objection.
        15            A.      I was the incorporator for the
        16    whole structure, for any corporation outside
        17    of China, I was the incorporator.
        18            Q.      So you were the incorporator.
        19                    Aside from just doing the actual
        20    incorporation, what role did you have in
        21    listing it?
        22            A.      I was also liaison, which means if
        23    they need communication, sometimes, you know,
        24    I deliver the communication to both side.
        25            Q.      Did you review the IPO prospectus




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Case 2:14-cv-03620-JMV-JBC Document 213-15 Filed 06/30/16 Page 12 of 31 PageID: 4287


                                                                           Page 31
         1                             H. Zou
         2    before it was filed?
         3            A.      No, that's not my expertise.
         4            Q.      Did you do any due diligence in
         5    connection with the IPO?
         6            A.      No.
         7            Q.      Looking at page 7, the
         8    interrogatory No. 6.              It says, Describe your
         9    role and responsibilities in connection with
        10    Tibet's IPO.          And then on the next page, in
        11    the third paragraph you say, Subject to and
        12    without waiving the foregoing specific
        13    objections and general objections Zou states
        14    that he was to the a member of Tibet's board
        15    of directors, did not any role in preparing
        16    or disseminating any material documents or
        17    information in connection with Tibet's IPO
        18    and did not have the opportunity to influence
        19    Tibet's board of directors.
        20                    Is that a true statement?
        21            A.      Yes, that's a true statement.
        22            Q.      Interrogatory 7 on page 8, it says,
        23    Describe your role and responsibilities on
        24    Tibet's board of directors and then in the
        25    third paragraph in your response you say,




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Case 2:14-cv-03620-JMV-JBC Document 213-15 Filed 06/30/16 Page 13 of 31 PageID: 4288


                                                                           Page 32
         1                             H. Zou
         2    Subject to and without waiving the foregoing
         3    specific objections and general objections,
         4    Zou states he was not a member of Tibet's
         5    board of directors, never attended a meeting
         6    of Tibet's board of directors, never voted or
         7    otherwise participated in or is even aware of
         8    any action taken by Tibet's board of
         9    directors.
        10                    Did you believe that's a true
        11    statement?
        12            A.      Yes, it's a true statement.
        13                    (Zou Exhibit 3, Prospectus, marked
        14            for identification.)
        15            Q.      This is a copy of Tibet's IPO
        16    prospectus.
        17                    If you take a look at page, there
        18    is a blank page marked 35.                  Under the heading
        19    table of contents, it says, We will have an
        20    ongoing relationship with our placement agent
        21    that may impact our shareholders ability --
        22    that may impact our shareholders ability to
        23    impact decisions related to our operations.
        24                    MR. GUNNELL:         I think we are
        25            looking in the wrong spot.




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Case 2:14-cv-03620-JMV-JBC Document 213-15 Filed 06/30/16 Page 14 of 31 PageID: 4289


                                                                           Page 36
         1                             H. Zou
         2    prospectus?
         3            A.      It's normally 100, 200 pages
         4    prospectus, so normally I don't read it.
         5            Q.      And did you know that your name was
         6    in the prospectus?
         7            A.      Yes, for being an observer, I must
         8    know my name is there.
         9            Q.      What does an observer do?
        10            A.      I really don't have any idea.                   It's
        11    just observing the board.
        12            Q.      But it says that you can exert
        13    significant influence over the board?
        14            A.      I mean, what influence can an
        15    observer give to the board, you are just an
        16    observer.        You held no voting rights, you
        17    cannot vote, you cannot veto, so it's just an
        18    observer.
        19            Q.      Why was McCarthy Downs designated
        20    as an observer?
        21                    MR. GUNNELL:         Objection.
        22            A.      I don't have any idea.
        23            Q.      And did Tibet's board members speak
        24    with you about being designated as an
        25    observer?




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Case 2:14-cv-03620-JMV-JBC Document 213-15 Filed 06/30/16 Page 15 of 31 PageID: 4290


                                                                           Page 37
         1                             H. Zou
         2            A.      No.
         3            Q.      Prior to the IPO, did you have any
         4    conversations with Tibet's CEO and other
         5    board members?
         6                    MR. GUNNELL:         Objection.         Compound
         7            question.
         8            Q.      Did you have any conversations with
         9    the CEO prior to the IPO?
        10            A.      Yes.
        11            Q.      What was discussed during those
        12    conversations?
        13            A.      I don't remember, I don't recall.
        14            Q.      So you helped incorporate this
        15    company but you didn't know that you would
        16    have any responsibilities in connection with
        17    the IPO?
        18                    MR. GUNNELL:         Objection.
        19            A.      I always believe I had no
        20    responsibilities to the IPO.
        21            Q.      So if these observers couldn't
        22    vote, what was the purpose of having the
        23    observers?
        24                    MR. GUNNELL:         Objection.
        25            A.      I have no idea.




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Case 2:14-cv-03620-JMV-JBC Document 213-15 Filed 06/30/16 Page 16 of 31 PageID: 4291


                                                                           Page 38
         1                             H. Zou
         2            Q.      It says that you are able to
         3    influence matters that are submitted to the
         4    board of directors.
         5                    What matters did you influence?
         6            A.      I never seen -- I have never seen
         7    any matters shown to me so I don't know if
         8    there is any matter submitted to the board or
         9    not.
        10            Q.      So do you know if Tibet had any
        11    board meetings?
        12            A.      I don't remember if they have any
        13    meeting.
        14            Q.      Did you find it strange that Tibet
        15    didn't have any board meetings?
        16            A.      I don't know.          It's their business
        17    decision, it's not mine.
        18            Q.      So you invested money in this
        19    company and you weren't concerned about the
        20    board's behavior and operations?
        21            A.      Of course you invest your own
        22    money, you are concerned, that's true, you
        23    are concerned, but board meeting, I don't
        24    know, is that going to make a difference.
        25            Q.      So you think that a public company




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Case 2:14-cv-03620-JMV-JBC Document 213-15 Filed 06/30/16 Page 17 of 31 PageID: 4292


                                                                           Page 39
          1                             H. Zou
          2    that runs without having any board meetings,
          3    that's not something that concerns you, as
          4    somebody experienced in equities as you
          5    testified, and investing?
          6                   MR. GUNNELL:          Objection.
          7           A.      I just didn't follow that closely,
          8    where I never pay attention to them whether
          9    they have a board meeting or not.
        10            Q.      How much money did you invest in
        11     Tibet, I know it's in the prospectus?
        12            A.      We invest close to 200,000.
        13            Q.      And you invested that money with
        14     Philip Zou, correct?
        15            A.      I'm just talking about my part.
        16            Q.      Did Tian Li have board meetings?
        17            A.      I don't recall.
        18            Q.      Were you an observer to the board
        19     of Tian Li?
        20            A.      Yes, if I don't remember wrong, I
        21     was there.
        22            Q.      What did you do as an observer to
        23     Tian Li's board?
        24            A.      Didn't do nothing.
        25            Q.      Did you attend any board meetings?




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Case 2:14-cv-03620-JMV-JBC Document 213-15 Filed 06/30/16 Page 18 of 31 PageID: 4293


                                                                           Page 40
         1                             H. Zou
         2            A.      No.
         3            Q.      Did you think that U.S. investors
         4    would be more likely to invest in a company
         5    that had someone like McCarthy Downs as an
         6    observer on the board?
         7                    MR. GUNNELL:         Objection.
         8            A.      I don't know.
         9            Q.      But you wanted this IPO to be
        10    successful, correct?
        11            A.      Well, I invest my money, so of
        12    course.
        13            Q.      Who decided you should be
        14    reimbursed $12,000 annually for your service
        15    on the board?
        16                    MR. GUNNELL:         Objection.
        17            A.      I have no idea.            I didn't
        18    participate in the decision.
        19            Q.      Do you know why this amount was the
        20    same as directors would be reimbursed if you
        21    were just an observer?
        22            A.      No, I really never pay attention to
        23    it.
        24            Q.      Were you concerned that your role
        25    as an observer could subject you to the same




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Case 2:14-cv-03620-JMV-JBC Document 213-15 Filed 06/30/16 Page 19 of 31 PageID: 4294


                                                                           Page 41
         1                             H. Zou
         2    liability as a director?
         3                    MR. GUNNELL:         Objection.         Calls for
         4            a legal conclusion.
         5            A.      I just didn't know the liability of
         6    being an officer, otherwise I won't either, I
         7    won't allow to put my name there.
         8            Q.      Were you paid anything in
         9    connection with being an observer?
        10            A.      No.
        11            Q.      You were never compensated?
        12            A.      I never receive compensation.
        13            Q.      Did you ever resign from the board
        14    as an observer?
        15            A.      No, I didn't know I need to resign.
        16            Q.      So you never resigned?
        17            A.      Yeah, I didn't know I need to
        18    resign from as an observer.
        19            Q.      Do you know if McCarthy Downs ever
        20    resigned?
        21            A.      I don't know either.
        22            Q.      Do you know who Brad Hanenberg is?
        23            A.      Yes, he is attorney from Kaufman &
        24    Canoles.
        25            Q.      Who is Kaufman & Canoles?




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Case 2:14-cv-03620-JMV-JBC Document 213-15 Filed 06/30/16 Page 20 of 31 PageID: 4295


                                                                           Page 46
         1                             H. Zou
         2            Q.      What did Philip do in connection
         3    with the incorporation?
         4            A.      Nothing.
         5            Q.      Are you the owner of RMCC?
         6            A.      No.
         7            Q.      Do you know what services RMCC
         8    provided to Fulcan Investments?
         9            A.      I don't recall.
        10            Q.      Do you know what RMCC is?
        11            A.      I don't.
        12            Q.      Do you know who owns RMCC?
        13            A.      I know the person but I couldn't
        14    remember his name.             I know the person.
        15            Q.      Do you know who he works for; does
        16    he work for Tibet?
        17            A.      No.     I'm not sure if he is working
        18    for Tibet.         I don't think so.
        19            Q.      Does he work for Anderson &
        20    Strudwick?
        21            A.      No, it's right out of my mouth.
        22            Q.      I will just ask another couple of
        23    questions and then we will take a five-minute
        24    break to patch everyone in.
        25                    What happened to the 424,375 shares




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Case 2:14-cv-03620-JMV-JBC Document 213-15 Filed 06/30/16 Page 21 of 31 PageID: 4296


                                                                           Page 47
         1                             H. Zou
         2    of Tibet stock that were held by you and your
         3    brother in Fulcan?
         4                    MR. GUNNELL:         Objection.
         5            A.      What happened?
         6            Q.      Were they sold?
         7            A.      We bought these shares at some cost
         8    and yes we sold them.
         9            Q.      When did you sell them?
        10            A.      I don't remember when I sold them,
        11    maybe somewhere 2012.
        12            Q.      You took a loss for those shares?
        13            A.      Yes, I took a loss, yeah.
        14            Q.      We can take a break.
        15                    (Recess.)
        16            Q.      So this is 4?
        17                    (Zou Exhibit 4, Email, marked for
        18            identification.)
        19                    MR. McDUNNA:         Patrick McDunna, the
        20            law firm of LeClair Ryan representing L.
        21            McCarthy Downs.
        22            Q.      This exhibit is Bates marked
        23    D002228 and this was produced by McCarthy
        24    Downs.
        25                    Mr. Zou, this email is from Mac




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Case 2:14-cv-03620-JMV-JBC Document 213-15 Filed 06/30/16 Page 22 of 31 PageID: 4297


                                                                           Page 57
         1                             H. Zou
         2    document with this version which corrects the
         3    company's address in the wire instruction for
         4    for the issuer with the proper address in
         5    Shanghai.        Taylor, please sign and scan the
         6    expense breakdown sent earlier and the
         7    amended instruction for the escrow agent.
         8    Kindly rescan the entire document and return
         9    via email.
        10                    Why is McCarthy Downs sending you
        11    the escrow instructions for the IPO money?
        12                    MR. GUNNELL:         Objection.
        13            A.      I really don't know.
        14            Q.      And this email is sent to you and
        15    only you and the other people on it are cc'd,
        16    is that correct?
        17            A.      Yes.
        18            Q.      Sitting here today, you do not know
        19    why you were sent the escrow instructions?
        20            A.      Like I mentioned earlier, I had
        21    very limited role in this IPO and sometimes,
        22    from what I'm looking, I'm what they call,
        23    the liaison between the company and the
        24    underwriters, so that might be the reason.
        25            Q.      Did you have authority to sign for




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Case 2:14-cv-03620-JMV-JBC Document 213-15 Filed 06/30/16 Page 23 of 31 PageID: 4298


                                                                           Page 58
         1                             H. Zou
         2    Taylor Guo?
         3            A.      No.
         4            Q.      So you're saying you only acted as
         5    a liaison?
         6            A.      Yes.
         7                    (Zou Exhibit 8, Email, marked for
         8            identification.)
         9                    MR. GUNNELL:         I would like to note
        10            for the record the document says page 1
        11            of 4 at the top and I've only been
        12            handed one page.
        13                    MS. FUKS:        It's a portion in the
        14            email string.          You guys all received Mr.
        15            Down's production so it's in the
        16            production.
        17                    MR. GUNNELL:         It's just not the
        18            complete document.
        19            Q.      I'm looking at the email from
        20    Darren Minton dated January 20, 2011 to Mac
        21    Downs, BHanenberg, Shangrilapharm and
        22    AJCervantes, Peter Visalli and Hayden Zou and
        23    it says -- first of all, do you know who
        24    Darren Minton is?
        25            A.      Yeah, I think he is investor




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Case 2:14-cv-03620-JMV-JBC Document 213-15 Filed 06/30/16 Page 24 of 31 PageID: 4299


                                                                           Page 66
          1                             H. Zou
          2    around, these pages are Bates numbered
          3    D000500 through D 000504.                 Pages 1 through 5
          4    of an email chain and if you look at page 4,
          5    it's emailed from you, Hayden Zou sent
          6    Thursday August 12, 2010 to Bei Wang copying
          7    antonSV@aol, Christopher J. Mugel,
          8    Shangrilapharm, Anthony Basch, Zachary Ring.
          9    It says, Answers to SEC comment No. 2.                         Bei
        10     and Dave, Please see attached file for
        11     answers to SEC comment.                If you agree with
        12     the answers and no further revisions needed,
        13     please issue us your consent letter to issue
        14     with the SEC.          It's signed Hayden Zou, CFA.
        15                    Are you a CFA?
        16            A.      After I left my actuarial science
        17     studies, I went ahead to get my CFA.
        18            Q.      Where did you get your CFA from?
        19            A.      In the U.S.
        20            Q.      What school?
        21            A.      It doesn't require school.                  It's
        22     just passing three exams.
        23            Q.      You studied for the exam?
        24            A.      Each year, you can only take one
        25     exam and if you pass the first one, then you




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Case 2:14-cv-03620-JMV-JBC Document 213-15 Filed 06/30/16 Page 25 of 31 PageID: 4300


                                                                           Page 67
         1                             H. Zou
         2    go for the second one, if you pass the second
         3    one, you go for the third one, so it takes at
         4    least three years to get.
         5            Q.      Did you study for those exams
         6    yourself?
         7            A.      Yes.
         8            Q.      Were you involved in Tibet's SEC
         9    filing?
        10            A.      No.
        11            Q.      Do you know what this email is?
        12            A.      I don't remember but it seems just
        13    in passing along what ever I received to give
        14    to their attorney, or to give the attorney,
        15    yeah.
        16            Q.      On the first page of this you wrote
        17    to Chris, It's all being clearly understood
        18    that Mr. Yu and the two shareholders of YSTP
        19    own all the voting and investment rights of
        20    YSTP.
        21                    Who are the other two shareholders
        22    of YSTP?
        23            A.      I really don't know.
        24            Q.      Are you one of them?
        25            A.      No, I'm not.




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Case 2:14-cv-03620-JMV-JBC Document 213-15 Filed 06/30/16 Page 26 of 31 PageID: 4301


                                                                           Page 75
         1                             H. Zou
         2    I did, my job was incorporator, after I
         3    finish, I need to get my name removed.
         4            Q.      So your name was never removed?
         5            A.      Yeah, only BVI corporation
         6    successful remove.
         7            Q.      And these are China Tibetan
         8    statements from January 2011 through August
         9    2014.
        10                    When was this bank account opened?
        11            A.      I don't recall.            Maybe sometime in
        12    2000.
        13            Q.      Who opened it?
        14            A.      I opened it.
        15            Q.      Why did you open it?
        16            A.      In order to complete the
        17    restructure of the Chinese company to get
        18    listed in the U.S., I had to do the
        19    incorporation, I had to open bank accounts.
        20            Q.      Where did the money in this account
        21    come from?
        22                    MR. GUNNELL:         Objection to form.
        23            A.      I really have no idea.
        24            Q.      So you controlled this bank account
        25    and you don't know where the money came from?




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Case 2:14-cv-03620-JMV-JBC Document 213-15 Filed 06/30/16 Page 27 of 31 PageID: 4302


                                                                           Page 76
         1                             H. Zou
         2                    MR. GUNNELL:         Objection.
         3            A.      I never in control of this bank
         4    account because there are people from the
         5    company, they are overseeing the bank
         6    account, they had access and control of the
         7    bank account.
         8            Q.      People from Tibet are overseeing
         9    this bank account?
        10            A.      Yes.
        11            Q.      Who?
        12            A.      The CEO, Taylor Guo, he was one of
        13    them and there is another one, the company's
        14    cashier or whatever you call it.
        15            Q.      You can also access this account?
        16            A.      I don't have access to this
        17    account.
        18            Q.      So how did you get these documents?
        19            A.      Because my name was there, still
        20    there, so I was sending request letters.
        21            Q.      So because your name was on this
        22    account, you sent a letter request for the
        23    statements?
        24            A.      I wasn't sure, I sent letter or I
        25    just walk in there.              I probably just walk in




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Case 2:14-cv-03620-JMV-JBC Document 213-15 Filed 06/30/16 Page 28 of 31 PageID: 4303


                                                                           Page 77
         1                             H. Zou
         2    there and I went to Hong Kong myself to ask
         3    for the documents.
         4            Q.      So what would happen if you tried
         5    to withdraw money from this account?
         6            A.      Yeah, but I didn't withdraw
         7    anything.        I didn't transfer in, transfer out
         8    anything.
         9            Q.      What would happen if you tried to;
        10    would you have the ability to since your name
        11    is on it?
        12                    MR. GUNNELL:         Objection.
        13            A.      I don't know, I really don't know.
        14            Q.      This account shows an opening
        15    balance on February 12, 2011 which is at page
        16    3.     Total value of investment services
        17    $32,614,233.79.            That's also net position.
        18                    What does this balance reflect?
        19                    MR. GUNNELL:         Objection.
        20            A.      I don't have any idea.
        21            Q.      Then it looks like on August 13,
        22    2014 which is at page 85, it says the net
        23    position is 14,733.51.
        24                    So where was all the money in this
        25    account moved to?




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Case 2:14-cv-03620-JMV-JBC Document 213-15 Filed 06/30/16 Page 29 of 31 PageID: 4304


                                                                           Page 85
         1                             H. Zou
         2    years, so maybe sometime in 2012.
         3            Q.      Did you speak to him after this
         4    case was filed?
         5            A.      I don't remember I speak to him.                    I
         6    think no, I didn't speak to him.
         7            Q.      Did you hear about the $3
         8    management buyout offer that's referred to in
         9    this press release?
        10            A.      Yes.
        11            Q.      What was your reaction when you
        12    heard about it?
        13            A.      It's good.
        14            Q.      So you didn't have any reason to
        15    doubt it?
        16            A.      I don't, I do not.
        17            Q.      Do you know if anybody checked the
        18    court websites in China to see if there were
        19    any actions pending against Tibet?
        20            A.      No, I'm not aware of any, whether
        21    in China or not, but I assume the auditor and
        22    the lawyer checked them.
        23            Q.      So you sold your stock in Tibet in
        24    2012.
        25                    What was your overall impression




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Case 2:14-cv-03620-JMV-JBC Document 213-15 Filed 06/30/16 Page 30 of 31 PageID: 4305


                                                                           Page 86
         1                             H. Zou
         2    about what happened with Tibet?
         3            A.      Not happy.
         4            Q.      Did you do anything to try to get
         5    anymore answers about what happened, besides
         6    call Hong Yu?
         7            A.      The place I can get answers from
         8    the internet similar to other investors.
         9            Q.      So you looked on the internet for
        10    answers?
        11            A.      Yeah.
        12            Q.      What did you find on the internet?
        13            A.      There is accusation about fraud,
        14    there is a positive words about it going
        15    private.
        16            Q.      Did you try to contact anyone else
        17    from Tibet, any of these people on the
        18    members of the board of directors?
        19            A.      I tried to reach out to Taylor Guo
        20    which was the CEO of the company.
        21            Q.      Did you try to look for his address
        22    in China?
        23            A.      I tried.
        24            Q.      What happened, could you find it?
        25            A.      No.




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Case 2:14-cv-03620-JMV-JBC Document 213-15 Filed 06/30/16 Page 31 of 31 PageID: 4306




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          1        ACKNOWLEDGMENT OF DEPONENT


                    i.   HfrfofrAi               .do
          3 hereby certify that I have read the
            foregoing pages, 1 - PGS, and that the
          4 same is a correct transcription of the
            answers given by me to the questions
          5 therein propounded, except for the
            corrections or changes in form or
          6 substance, if any, noted in the attached




         10
            Subscribed and sworn
         11 to before me this
                  day of                   , 20
         12
            My commission expires:    _
         13

         14
                _
               Notary Public
          15

          16

         17

          18

          19

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          21

          22



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